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                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON, DIVISION



IN RE:                                      §
                                            §       CASE NO. 17-35044-H2-7
       ROBERT DAVIS                         §
                                            §
                              DEBTOR        §



  RESPONSE TO MOTION TO HAVE GWENDOLYN WILDS AND GRACE DAVIS
   APPEAR AND SHOW CAUSE WHY THEY SHOULD NOT BE SANCTIONED


TO THE HONORABLE U.S. BANKRUPTCY JUDGE:

       Gwendolyn R. Wilds in response to the above-referenced motion responds and states as

follows:

   1. That the Debtor retained the undersigned to refile a Chapter 13 petition shortly before

       Hurricane Harvey;

   2. That when the undersigned returned to the office days later the undersigned emailed the

       Debtor to pay his filing fee;

   3. That the Debtor terminated the undersigned’s representation without explanation;

   4. The undersigned immediately reached out by telephone and email to the Debtor for an

       explanation and for the additional information needed to satisfy the remaining

       deficiencies to avoid dismissal but the Debtor did not respond;

   5. Shortly thereafter the Debtor retained substitute counsel;

   6. That while in Court, months later the Debtor represented to this Court that he paid the

       filing fee to the undersigned;



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7. That the undersigned approached counsel for the Debtor for an explanation and instead

   was asked if Mr. Payne spoke to her regarding the matter;

8. That although Mr. Payne had not contacted the undersigned until months later, the

   undersigned did not realize the filing fee had been left at the office until Mr. Payne

   forwarded a copy of a receipt signed by an employee of Credit with Grace;

9. In response, the undersigned promptly responded and provided an accounting and

   expressed her willingness to refund the unused retainer;

10. That the undersigned waited for a response from Mr. Payne regarding the accounting but

   he never did;

11. That on or about July 11, 2019, the undersigned received an email from another law

   office alleging that my office owed $13,000 to the Debtor for moneys that were not paid

   to his mortgage loan servicer;

12. That in response, the undersigned inquired whether Counsel for the Debtor received the

   undersigned’s response to Mr. Payne’s inquiry. The undersigned reiterated her

   willingness to refund the unused portion of the retainer;

13. Despite several emails from the Walker Law Office, Counsel for the debtor never

   acknowledged the invoice and the proposed refund amount.

14. It became clear, after the series of emails that counsel for Debtor did not intend to

   respond and that counsel mistakenly assumed and believed that the undersigned also

   retained funds which were paid towards the loan modification. It was at that point the

   undersigned raised the issue of a release in satisfaction of the refund.




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FACTS

   1. The undersigned rented an office from Credit with Grace at the time Mr. Davis initially

       came to the office.

   2. The Debtor initially came to the offices at 3920 FM 1960 to seek a loan modification.

   3. On the day Mr. Davis initially came to the office, Ms. Davis had not arrived. The

       undersigned greeted Mr. Davis and engaged in small talk until she arrived.

   4. That at that time, Mr. Davis was interested in modifying his home loan.

   5. That months later, Mr. Davis returned to the office to see Ms. Davis as his employment

       situation worsened and he was deeply troubled because he was about to lose his vehicle.

   6. Mr. Davis was desperate and the undersigned was approached at that time to file for

       Chapter 13 protection.



BANKRUPTCY CASES

   Counsel for the Debtor alleges that Mr. Davis hired the undersigned at the same time he

sought loan modification services. Mr. Davis sought the loan modification services of Credit

with Grace in June of 2016. Mr. Davis did not approach the undersigned to file a Chapter 13

petition until the end of December 2016 when his car was about to be repossessed.

   Prior to being admitted to the Bankruptcy Court, the undersigned was a credit consultant with

Credit with Grace and was familiar with many of the credit procedures and often met with

clients. It was not unusual for Ms. Davis to request the undersigned to witness documents or be

present often for safety reasons and/or make copies for customers. As is customary when

Debtors are in bankruptcy, counsel for the Debtor must authorize the mortgage company to work

with a third party. Hence the letter dated March 9, 2017.



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     It is well settled that less that 33% of all Chapter 13 cases are discharged. According to the

American Bankruptcy Institute predicting success in Chapter 13 cases is less certain than

predicting failure. Success Rates in Chapter 13 Cases, American Bankruptcy Institute (August

2017). Since only one Debtor among the 50 cases cited by the Debtor’s counsel has completed

their plan, the Debtor’s reference to the confirmation rate of the undersigned’s cases filed with

this court is simply disingenuous, and does not warrant further discussion.


THE FIRST CASE

       The Debtor was unemployed at the time he approached the undersigned to file for

Chapter 13 protection. Unable to pay the entire fee, he asked the undersigned to take a partial

retainer. Mr. Davis paid the balance of the retainer and the filing fee post-petition. The Trustee

objected to confirmation because the Debtor failed to make its payments to the trustee. At that

time, Mr. Davis indicated that he did not want to pay the total amount in arrears prior to

confirmation because he recently started a new job and needed to pay some bills as he was the

only one working at that time.



THE SECOND CASE

       Mr. Davis was told that he could always start over. He agreed and the first case was

dismissed. When he came ashore he paid a new retainer toward the second case which was

promptly filed. Shortly thereafter, Hurricane Harvey occurred. The undersigned did not learn

until much later that a day or so after Hurricane Harvey, while the undersigned was not in the

office, the Debtor appeared at the office and paid the filing fee. An employee of Credit with

Grace apparently provided him with a receipt for the filing fee but failed to inform the

undersigned. When the undersigned returned to the office, she contacted the Debtor regarding


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the filing fee. Almost immediately, the Debtor sent an email terminating her services without

explanation. Because Mr. Davis did not respond to the undersigned’s subsequent emails and

calls regarding information needed for the second bankruptcy, and because he obtained new

counsel, no further documents were filed.



RECENT DEVELOPMENTS

       The funds paid by Mr. Davis for the bankruptcies are not in dispute. However, Mr.

Payne after his initial email did not respond after the undersigned acknowledged that her

willingness to issue a refund. Instead, the undersigned received an email from the firm of

Walker & Patterson demanding a refund in the amount of $13,000 without an explanation or

breakdown of the demand. The undersigned promptly responded inquiring whether she received

a copy of the invoice and response sent to Mr. Payne.

       The undersigned did not receive a response acknowledging the invoice nor the proposed

refund until this motion was filed, nor was the undersigned given the courtesy of a simple phone

call to discuss and settle the matter. Although the undersigned called Ms. Gott to discuss the

matter, she was unavailable. Instead, the undersigned received an email in a tone which was

clearly unexpected, unbecoming of the profession, and lacked the civility and common courtesy

expected between members of the profession.



THE ALLEGED SCHEME

       Counsel for the Debtor blatantly suggests that the undersigned’s actions were nefarious.

With respect to the modification, it is my understanding that Ms. Davis obtained two

modifications on behalf of Mr. Davis. It is also my understanding that funds were paid to Ocwen



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and when Mr. Davis learned that the modification would have to be submitted to the Court for

approval and that he would have to begin paying it, he indicated that he could not afford it.

Thereafter, a second modification was submitted which was also approved.

       Finally, neither Mr. Payne nor Ms. Gott has indicated whether the amount of the

proposed refund is acceptable to the client. From the moment counsel for the Debtor approached

the issue of a refund; the undersigned has agreed to a refund but counsel has not agreed to the

amount of the refund.



UNAUTHORIZED PRACTICE OF LAW

      The unauthorized practice of law is applicable if:


      (a) A person commits an offense if, with intent to obtain an economic benefit for himself
or herself, the person:


      (1) contracts with any person to represent that person with regard to personal causes of
           action for property damages or personal injury;


      (2) advises any person as to the person’s rights and the advisability of making claims for
           personal injuries or property damages;


      (3) advises any person as to whether or not to accept an offered sum of money in
           settlement of claims for personal injuries or property damages;


      (4) enters into any contract with another person to represent that person in personal
           injury or property damage matters on a contingent fee basis with an attempted
           assignment of a portion of the person’s cause of action; or


      (5) enters into any contract with a third person which purports to grant the exclusive
           right to select and retain legal counsel to represent the individual in any legal
           proceeding.


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      Counsel for the Debtor has failed to set forth a series of facts to prove elements of the

unauthorized practice of law.    The undersigned has not obtained or intended to obtain an

economic benefit by: (1) contracting to represent that person with regard to a personal cause of

action for property damages or personal injury; (2) provided advise as to the Debtor’s rights and

the advisability of making claims for personal injuries or property damages; (3) advised the

Debtor to accept a settlement for personal injuries or property damages; (4) entered into a

contract with another person to represent Mr. Davis in a personal injury or property damage

matter on a contingent fee basis with an attempted assignment of a portion of the person’s

cause of action; or; (5) entered into any contract with a third person which purports to grant the

exclusive right to select and retain legal counsel to represent the individual in any legal

proceeding.


      WHEREFORE, since debtor has not received an economic benefit, the undersigned

requests that this Court deny the Debtors request for sanctions.


Respectfully Submitted,


Dated: January 9, 2020                                      /s/ Gwendolyn R. Wilds
                                                            Federal ID 2384504, VI Bar 461
                                                            P.O. Box 11542
                                                            Houston, TX 77391
                                                            Tel: (832) 272-4969




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                                CERTIFICATE OF SERVICE


       I hereby certify that pursuant to Bankr. R. 2002, this instrument was served by the Clerk

of the United States Bankruptcy Court and by fax, email or USPS to all parties requiring notice.


Grace L. Davis
8402 Glenn Elm Drive
Spring, TX 77391

Miriam Goott
mgoot@walkerandpatterson.com

David G Peake
court@peakech13trustee.com

William E. Heitkamp
heitkamp@ch13hou.com




Dated: January 9, 2020                                      /s/ Gwendolyn R. Wilds
                                                            Federal ID 2384504, VI Bar 461
                                                            P.O. Box 11542
                                                            Houston, TX 77391
                                                            Tel: (832) 272-4969




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                     FOR THE SOUTHERN DISTRICT OF TEXAS
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IN RE:                                    §
                                          §      CASE NO. 17-35044-H2-7
       ROBERT DAVIS                       §
                                          §
                            DEBTOR        §


                                          ORDER
                                        (ECF #  )


       AND NOW THIS            day of               , 2020 the Debtor’s Motion for Sanctions

against Gwendolyn Wilds for the unauthorized practice of law is hereby DENIED.




                                                 ___________________________________
                                                         JUDGE DAVID R. JONES
                                                 JUDGE OF THE BANKRUPTCY COURT



Grace Davis
William Heitkamp
David G. Peake
Miriam Goott




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